                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT


In the matter of:

       Telese Georgia Hussey,                            Case No. 12-57929-MBM
                                                         Chapter 7
                         Debtor.   /                     Hon. Marci B. McIvor


                     OPINION REGARDING DATE PROPERTY IS TO
                    BE VALUED FOR PURPOSES OF 11 U.S.C. § 554

                                          FACTS

       On August 2, 2012, debtor, Telese Georgia Hussey, filed a voluntary petition

under Chapter 7 of the Bankruptcy Code. On August 16, 2012, Debtor filed her

bankruptcy schedules. On Schedule A (Real Property Owned by the Debtor) Debtor

listed her residence at 8145 Northpointe Court, Canton, Michigan, 48187 (hereinafter

referred to as the “real property”). Debtor listed the current value of the real property as

$189,750.00 and stated that the property was encumbered by the mortgage creditor’s

secured claim in the amount of $195,204.49. On Schedule C (Property Claimed as

Exempt), Debtor claimed an exemption in the real property pursuant to 11 U.S.C.

§522(d)(1) in the amount of $10,800.00.

       On October 19, 2012, mortgage creditor, PNC Bank, National Association, filed a

motion seeking relief from the automatic stay. In its motion, the Mortgage Creditor

alleged that the balance owed on Debtor’s mortgage is $177,802.93. (Paragraph 9,

Motion for Relief from Stay, Docket No. 31).

       On December 17, 2012, the Chapter 7 Trustee, filed an Application to Employ

Real Estate Sales Agent and Broker to sell Debtor’s real property. The Application




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alleged that there was equity in the real property which could be preserved for the

benefit of the bankruptcy estate if the real property was sold. On December 17, 2012,

this Court entered an Order Authorizing Trustee to Employ Real Estate Agent and

Broker. (Docket No. 47).

      On March 4, 2013, Debtor filed a Motion requesting that the Trustee be required

to abandon the estate’s interest in the real property. Debtor alleged that the amount of

PNC’s mortgage, added to her exempt equity, was an amount in excess of the value of

the real property. Therefore, Debtor argued that the real property had no benefit to the

estate and should be abandoned by the Trustee pursuant to 11 U.S.C. § 554. On

March 11, 2013, the Trustee filed an Objection to Debtor’s Motion to Abandon Real

Property. The Trustee alleged that the real property had a significantly higher value

than that stated by the Debtor. As a result of the higher value, the real property had

non-exempt equity, which, if the real property was sold, would become property of the

bankruptcy estate.

      On March 11, 2013, the Trustee also filed a Motion to Compel Debtor to

Cooperate in the Sale of the Real Property. In that Motion, the Trustee again alleged

that Debtor’s real property had value above the outstanding mortgage and Debtor’s

exempt equity, and therefore, Debtor should be required to allow the Trustee to market

the property.

      On March 26, 2013, the Court held a hearing on both Debtor’s motion requesting

that the Trustee abandon the real property, and the Trustee’s motion to compel the

Debtor to cooperate in the sale of the real property. Since the resolution of both

motions turns on the value of Debtor’s real property, the Court scheduled an evidentiary

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hearing on that issue for April 10, 2013.1 At the hearing on the motions, it became clear

to the Court that a preliminary issue needed to be resolved prior to the evidentiary

hearing. That issue relates to the timing of the valuation of Debtor’s real property.

Debtor argues that for purposes of determining whether property should be abandoned

by the Trustee, the date of valuing the real property is the date of filing the petition for

relief. The Chapter 7 Trustee argues that the date for valuing property for purposes of

motions under 11 U.S.C. § 554 is a date close to the time the motion for abandonment

is filed. The significance of these arguments is that within the last 18 months, property

values in southeastern Michigan have slowly began to appreciate. Since Debtor filed

her case on August 2, 2012, and filed her Motion to Compel Abandonment on March 4,

2013, an appraisal valuing Debtor’s real property on March 4, 2013, would presumably

be higher than an appraisal of Debtor’s real property on August 2, 2012.

        After discussing this issue with the parties, the Court requested case law

supporting the positions taken by the parties. The Trustee indicated that he had cited

case law in the Trustee’s Motion to Compel Debtor to Cooperate In the Sale of Real

Property. Debtor requested that she be given a short period of time to file a

supplemental memorandum in support of her Motion to Abandon. On April 2, 2013,

Debtor filed her Supplemental Memorandum in support of her position that Debtor’s

property should be valued as of the date of the filing of the petition.

                                          ANALYSIS

        Debtor requests that the Trustee be required to abandon the estate’s interest in


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         The evidentiary hearing has been adjourned by agreement of the parties to April 17,
2013.

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her real property. Abandonment of property of the estate is governed by 11 U.S.C.

§554. 11 U.S.C. § 554 states in relevant part:

             (a) After notice and a hearing, the trustee may abandon any
       property of the estate that is burdensome to the estate or that is of
       inconsequential value and benefit to the estate.

              (b) On request of a party in interest and after notice and a hearing,
       the court may order the trustee to abandon any property of the estate that
       is burdensome to the estate or that is of inconsequential value and benefit
       to the estate.

       Neither the Bankruptcy Code, nor Fed. R. Bankr. P. 6007 specify either the time

in which the Trustee must act to abandon or the date on which estate property should

be valued for purposes of abandonment. Case law states that because the trustee has

an obligation to ascertain the property’s fair market value and the amount and the

validity of outstanding liens, the trustee has “reasonable” time to consider retaining or

abandoning an asset. Stanolind Oil and Gas Co. v. Logan, 92 F.2d 28 (5th Cir. 1937).

Collier on Bankruptcy states as follows with regard to the time in which a trustee must

decide whether or not to abandon an asset:

       The term “reasonable” implies that the period of deliberation is adaptable
       to the circumstances. The trustee may wait until he or she is able to
       ascertain whether there is any profit to be expected for the estate. In fact,
       it may be the trustee’s duty to wait. The is especially true when the
       prospects depend on a fluctuating market. ... However while the trustee
       must be accorded a reasonable period for investigation, when other
       parties seek a decision about abandonment, there comes a time, as one
       court put it, to “fish or cut bait.”

5 Collier on Bankruptcy ¶ 554.02[2] at 554-5.

       Other than this statement in Collier on Bankruptcy, this Court could find no case

law which explicitly addresses the issue of the date on which property should be valued



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for purposes of a motion to abandon.2

       In the absence of any case law specifically on point, this Court finds that the

Bankruptcy Code section dealing with the determination of secured claims, 11 U.S.C.

§506, provides some assistance. 11 U.S.C. §506 states in relevant part:

               (a)(1) An allowed claim of a creditor secured by a lien on property
       in which the estate has an interest, or that is subject to setoff under
       section 553 of this title, is a secured claim to the extent of the value of
       such creditor’s interest in the estate’s interest in such property, or to the
       extent of the amount subject to setoff, as the case may be, and is an
       unsecured claim to the extent that the value of such creditor’s interest or
       the amount so subject to setoff is less than the amount of such allowed
       claim. Such value shall be determined in light of the purpose of the
       valuation and of the proposed disposition or use of such property, and in
       conjunction with any hearing on such disposition or use or on a plan
       affecting such creditor’s interest.

                (2) If the debtor is an individual in a case under chapter 7 or 13,
       such value with respect to personal property securing an allowed claim
       shall be determined based on the replacement value of such property as
       of the date of the filing of the petition without deduction for costs of sale or
       marketing.

       There is a notable distinction between §506(a)(1) and § 506(a)(2). When valuing

real property for purposes of determining a creditor’s secured claim, the value is to be

determined “in light of the purpose of the valuation and of the proposed disposition or

use of such property.” When the issue involves a secured interest in personal property,

the value shall be “determined based on the replacement value of such property as of

the date of the filing of the petition.” With regard to real property, the Bankruptcy Code


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        Apparently the parties were also unable to find any case law in support of their
respective arguments. Debtor’s Supplemental Brief cited no case law. The two cases cited by
the Chapter 7 Trustee in his Motion to Compel Debtor to Cooperate in Sale of Real Property, In
re Kerlo, 311 B.R. 256 (Bankr. C.D. Cal. 2004) and In re Neal, 424 B.R. 235 (Bankr. E.D. Mich.
2010) say nothing about the timing of valuing property for purposes of a motion for
abandonment.

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recognizes that the value of a creditor’s secured claim may vary depending on the

purpose of the valuation and of the proposed disposition of the property. Valuation is

not linked to a date, it is linked to the purpose of the valuation and the proposed

disposition of the real property.

       This Court finds that the value of Debtor’s real property for purposes of Debtor’s

Motion to Abandon, must be construed so as to be consistent with the requirements of

11 U.S.C. § 506(a)(1). In other words, the value of Debtor’s real property for purposes

of the Motion for Abandonment must be determined “in light of the purpose of the

valuation and of the proposed disposition or use of such property.”

Thus, the first question which must be answered by the Court is, what is the purpose of

a motion to abandon? The purpose of a motion to abandon, whether brought by the

trustee or a party in interest, is to establish that an asset is either of inconsequential

value to the estate, or burdensome to the estate, and therefore should be abandoned by

the trustee. The second question for this Court is what is the best method of

establishing the value of the property which is the subject of the abandonment motion?

Courts have generally held that for purposes of valuation, if an actual sale (or equivalent

disposition) is to occur, the value of the collateral should be based on the consideration

to be received by the estate in connection with the sale, provided that the terms of the

sale are fair and were arrived at on an arms length basis. Ford Motor Credit Co. v.

Dobbins, 35 F.3d 860, 870 (4th Cir. 1994); Romley v. Sun National Bank (In re The Two

“S” Corp.) 875 F.2d 240, 244 (9th Cir. 1989)(“evidence of other appraised values is also

irrelevant, because the sale price is a better indicator of the asset’s value than any

estimate of value given prior to the sale”).

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       This Court concludes that in light of the purpose underlying a motion to abandon,

the best evidence of the value of Debtor’s real property, is the value that real property

could be sold for at the time the Motion to Abandon is filed. For purposes of the

evidentiary hearing, the parties should present either an offer to purchase, or an

appraisal valuing the real property as of March, 2013. The Court will also need

evidence as to the balance owed on any secured claims.

       This Court’s conclusion is supported both by the Bankruptcy Code and by

common sense considerations. As noted above, 11 U.S.C. § 554 contemplates that the

Trustee, and other interested parties, have a reasonable amount of time to determine

whether abandonment is in the best interests of the bankruptcy estate. That time frame

should not be circumscribed by a concern that an appraisal of the property will not be

accurate because of the time that elapses between the filing of the case, and a decision

on abandonment. Once a motion to abandon is filed, it makes far more sense to value

the property as of the date of the motion, rather than value it as of the date the petition

was filed. The relevant inquiry is whether the property provides a benefit to the estate,

and the best answer to that inquiry is the value of the property as of the date of the filing

of the Motion to Abandon.




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                                     CONCLUSION

       In conclusion, this Court finds that for purposes of 11 U.S.C. § 554, Debtor’s real

property must be valued as of the date the Motion to Abandon was filed.
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Signed on April 05, 2013




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